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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:23-cv-24815-BB
  ISAAC HERES,

         Plaintiff,
  v.
                                                                 JURY TRIAL DEMANDED
  MEDICREDIT INC,

        Defendant.
  _______________________________________/

                               SECOND AMENDED COMPLAINT

         Plaintiff Isaac Heres (“Plaintiff”) sues MediCredit Inc (“Defendant”) for violations of the

  Fair Debt Collection Practices Act (“FDCPA”),

                                   JURISDICTION AND VENUE

         1.      Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § 1331, and

  28 U.S.C. § 1337.

         2.      Venue in this District is proper because Plaintiff resides here, Defendant transacts

  business here, and the complained of conduct of Defendant occurred here.

                                               PARTIES

         3.      Plaintiff is a natural person, and a citizen of the State of Florida, residing in Broward

  County, Florida.

         4.      Defendant is a Missouri corporation, with its principal place of business located in

  Earth City Missouri.

                                   DEMAND FOR JURY TRIAL

         5.      Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.




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                                            ALLEGATIONS

          6.      At all times material, Plaintiff was an employee of In Gear Fashion (“IGF”).

          7.      On January 3, 2021, in the course and scope of Plaintiff’s employment at IGH, a

  forklift ran over Plaintiff and shattered the bones in Plaintiff’s right leg, right ankle, and right foot

  (the “Workplace Injury”).

          8.      Attached as Exhibit “A” is a copy of the initial Petition for Workers’ Compensation

  Benefits (the “Initial PFB”) filed by Plaintiff with the Office of Judges of Compensation Claims

  January 25, 2021.

          9.      The Initial PFB, as attached, is a matter of public record.

          10.     Pursuant to the Initial PFB, Plaintiff sought an order requiring IGF and/or IFG’s

  insurance carrier, AmTrust North America Florida (“AmTrust”), to provide benefits due under

  Chapter 440, Florida Statues.

          11.     The Initial PFB detailed description of the accident provides:

                  [Plaintiff] WENT TO WORK AT THE WAREHOUSE AND WAS
                  ASSISTING A CO-EMPLOYEE THROWING OUT TRASH
                  WHEN HE JUMPED OFF THE FORKLIFT WHILE IT WAS
                  STOPPED. THE CO-EMPLOYEE DID NOT NOTICE [Plaintiff]
                  GOT OFF THE FORKLIFT AND ACCELERATED THE
                  FORKLIFT RUNNING OVER [Plaintiff]’S RIGHT LOWER
                  EXTREMITY SHATTERING HIS BONES IN HIS RIGHT LEG,
                  RIGHT ANKLE AND RIGHT FOOT.

  Initial PFB.

          12.     On July 1, 2021, Plaintiff sought emergency treatment for the Workplace Injury at

  Aventura Hospital and Medical Center.

          13.     Aventura Hospital and Medical Center is a medical facility that provides, among

  other things, emergency medical services to the public.




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         14.     Aventura Hospital and Medical Center (“Aventura Hospital”) is the doing business

  as and/or fictious name of Miami Beach Healthcare Group LTD (“Miami Healthcare”).

         15.     Aventura Hospital is owned and operated by Miami Healthcare.

         16.     While at Aventura Hospital, it was determined that emergency surgery was needed

  to treat the Workplace Injury.

         17.     Oleta River Emergency Physicians LLC (“ORE Physicians”) provided medical

  services to Plaintiff for the treatment of the Workplace Injury on July 1, 2021.

         18.     ORE Physicians knew the medical services it provided Plaintiff on July 1, 2021,

  were for the treatment of a workplace injury sustained by Plaintiff on January 3, 2021, because

  such information was contained in the medical records reviewed by ORE Physicians before ORE

  Physicians rendered medical services to Plaintiff on July 1, 2021, and because the

  contemporaneous medical records authored by ORE Physicians indicate the services provided

  were for the treatment of a workplace injury sustained by Plaintiff on January 3, 2021.

         19.     ORE Physicians knew that payment for medical services rendered to an employee

  for the treatment of a workplace injury is the financial responsibility of the employer or the

  employer’s insurance carrier.

         20.     ORE Physicians knew Plaintiff was not financially responsible for the treatment of

  the Workplace Injury.

         21.     On July 14, 2021, ORE Physicians submitted a Health Insurance Claim Form to

  AmTrust seeking payment in the amount of $ 2,053.00 for the medical services ORE Physicians

  rendered to Plaintiff on July 01, 2021, for the treatment of the Workplace Injury.

         22.     Miami Healthcare provided medical services to Plaintiff for the treatment of the

  Workplace Injury on July 1, 2021.



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         23.     Miami Healthcare knew the medical services it provided Plaintiff on July 1, 2021,

  were for the treatment of a workplace injury sustained by Plaintiff on January 3, 2021, because

  such information was contained in the medical records reviewed by Miami Healthcare before

  Miami Healthcare rendered medical services to Plaintiff on July 1, 2021, and because the

  contemporaneous medical records authored by Miami Healthcare indicate the services provided

  were for the treatment of a workplace injury sustained by Plaintiff on January 3, 2021.

         24.     Miami Healthcare knew that payment for medical services rendered to an employee

  for the treatment of a workplace injury is the financial responsibility of the employer or the

  employer’s insurance carrier.

         25.     Miami Healthcare knew Plaintiff was not financially responsible for the treatment

  of the Workplace Injury.

         26.     Miami Healthcare knew that it did not have any statutory or contractual right to

  attempt to collect the Medical Debt from Plaintiff because Florida law shields an employee from

  financial responsibility.

         27.     Despite knowing Plaintiff was not financially responsible for the treatment of the

  Workplace Injury rendered by Miami Healthcare on July 1, 2021, Miami Healthcare sent Plaintiff

  a bill, internally dated September 28, 2021, for the medical services rendered on July 1, 2021, for

  the treatment of the Workplace Injury.

         28.     Attached as Exhibit “B” is a copy of the bill, internally dated September 28, 2021,

  Miami Healthcare sent Plaintiff (the “Medical Bill”).

         29.     The Medical Bill demanded payment of $1,337.33 for the medical services

  rendered on July 1, 2021, from Plaintiff (the “Medical Debt”).

         30.     The Medical Bill states the subject account number is 39759381.



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         31.      In the Medical Bill, Miami Healthcare made clear it was demanding $1,337.33 from

  Plaintiff directly by stating “Total Amount For Hospital Services is the total amount the hospital

  expects to receive for services after all discounts have been applied,” “the amount you owe may

  include copay, deductibles or non-covered charges,” and in bold red text “AMOUNT YOU OWE

  $1,337.33.” Medical Bill.

         32.      The Medical Bill caused Plaintiff waste time, as well as lose sleep, because the

  language used in the Medical Bill caused Plaintiff mistakenly to believe he was responsible for the

  Medical Debt.

         33.      Plaintiff lost sleep on at least one occasion as a result of the Medical Bill.

         34.      On January 12, 2022, Plaintiff’s workers’ compensation benefits case, OJCC Case

  No 21-001836SMS, was resolved, whereby AmTrust and/or IGC remained responsible for

  medical care rendered through December 8, 2021.

         35.      On February 21, 2022, Plaintiff filed suit against Miami Healthcare in Miami-Dade

  County Court (case no 2022-005946-CC-05) (“State Lawsuit”) for, among other things, unlawfully

  demanding payment from Plaintiff for the Workplace Injury and harm suffered by Plaintiff as a

  result of the Medical Bill.

         36.      In the course of the State Lawsuit, Miami Healthcare was informed that the Medical

  Debt was AmTrust and/or IGC financial responsibility because the underlying medical services

  were for the treatment of the Workplace Injury.

         37.      At minimum, in the course of the State Lawsuit, Miami Healthcare knew that it

  (Miami Healthcare) could not lawfully demand payment from Plaintiff for the medical services it

  rendered to Plaintiff on July 1, 2021.




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          38.       At minimum, in the course of the State Lawsuit, Miami Healthcare knew that

  AmTrust and/or IGC were financial responsibility for the Medical Debt.

          39.       On October 28, 2022, Plaintiff and Miami Healthcare reached settlement in the

  State Lawsuit.

          40.       Despite the resolution of the State Lawsuit, of which crystallized for Miami

  Healthcare that it could not attempt to collect the Medical Debt from Plaintiff, Miami Healthcare

  contracted with Defendant to collect the Medical Debt from Plaintiff.

          41.       Defendant is a business entity engaged in the business of soliciting consumer debts

  for collection.

          42.       Defendant is a business entity engaged in the business of collecting consumer debts.

          43.       Defendant regularly collects or attempts to collect, directly or indirectly, debts

  owed or due or asserted to be owed or due another.

          44.       Defendant is registered with the Florida Office of Financial Regulation as a

  “Consumer Collection Agency.”

          45.       Defendant’s “Consumer Collection Agency” license number is CCA0900581.

          46.       Defendant maintains all the records specified in Rule 69V-180.080, Florida

  Administrative Code.

          47.       The records specified by Rule 69V-180.080, Florida Administrative Code, of which

  Defendant does maintain, are current to within one week of the current date.

          48.       For Defendant’s “Consumer Collection Agency” license to remain valid, Defendant

  is required to maintain, at minimum, all records specified in Rule 69V-180.080, Florida

  Administrative Code, and keep such records current within one week of the current date.




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         49.        Rule 69V-180.080(3)(e) of the Florida Administrative Code commands that

  Defendant shall maintain: “[t]he debtor’s account of activity disclosing… a record of payments

  made by the debtor, including the date received and the amount and balance owing.”

         50.        Rule 69V-180.080(9)(a)-(b) of the Florida Administrative Code commands that

  Defendant shall maintain: “basic information about the debt including, at minimum…

  [d]ocumentation of the debt provided by the creditor,” as well as “[t]he date the debt was incurred

  and the date of the last payment.”

         51.        Defendant, by way of the records which it (Defendant) is required to maintain to

  retain a valid Consumer Collection Agency license with the Florida Department of State, knew

  that the Medical Debt arose from the treatment of the Work-Injury and otherwise knew that it

  (Defendant), as well as Care Provider, did not have any statutory or contractual right to attempt to

  collect the Medical Debt from Plaintiff.

         52.        Defendant knew that it did not have any statutory or contractual right to attempt to

  collect the Medical Debt from Plaintiff because Florida law shields an employee from financial

  responsibility.

         53.        On a date better known to Defendant, Defendant sent a collection letter, internally

  dated July 29, 2023, to Plaintiff (the “Collection Letter”) in an attempt to collect the Medical Debt.

  Attached as Exhibit “C” is a copy of the Collection Letter.

         54.        The Collection Letter states the account number associated with the Medical Debt

  is 39759381.

         55.        The Collection Letter demands payment from Plaintiff for the Medical Debt.

         56.        The Collection Letter is a communication from Defendant to Plaintiff in connection

  with the collection of a debt.



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         57.     The Collection Letter represents an action to collect a debt by Defendant.

         58.     Plaintiff received and reviewed the Collection Letter.

         59.     In June-2023, Plaintiff wasted approximately fifty (50) minutes reviewing and

  analyzing the Collection Letter.

         60.     The Collection Letter disrupted and intruded upon Plaintiff’s solitude and peace at

  home by unlawfully sending a letter to Plaintiff’s home address demanding payment of the

  Medical Debt. For example, the Collection Letter caused turmoil in Plaintiff’s home, whereby

  Plaintiff and his spouse argued for at least two (2) weeks about the Medical Debt because Plaintiff

  had assured his spouse that the Medical Debt was not his responsibility, yet Plaintiff now receiving

  a collection letter claiming otherwise.

         61.     The Collection Letter caused Plaintiff to waste time, as well as lose sleep, because

  Miami Healthcare knew Plaintiff was not responsible for the Medical Debt, yet Defendant was

  still trying to collect the Medical Debt from Plaintiff.

         62.     The Collection Letter caused Plaintiff to believe that Defendant was retaliating

  against Plaintiff on behalf of Miami Healthcare for the State Lawsuit.

         63.     Plaintiff has spent more than sixty (60) hours worrying and ruminating about the

  Collection Letter because, to date, Plaintiff cannot rationalize why Miami Healthcare sent the

  Medical Debt to Defendant for collection other than to retaliate action Plaintiff and why Defendant

  wrongfully sought to hold Plaintiff accountable for a workplace injury medical debt since

  Defendant knows employers are responsible medical debt arising from a workplace injury.

         64.     Defendant caused Plaintiff to waste at least sixty (60) hours due to the worry,

  rumination, and confusion the Collection Letter inflicted on Plaintiff.




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          65.     Plaintiff suffered more than ninety (90) hours of anxiety due to the Collection Letter

  because Plaintiff was assured that Miami Healthcare knew the Medical Debt was not Plaintiff’s

  responsibility, as well as relayed such assurance to his spouse, only to subsequently receive the

  Collection Letter which plainly demands that Plaintiff must pay the Medical Debt.

          66.     Defendant caused Plaintiff to waste at least ninety (90) hours due to the anxiety the

  Collection Letter inflicted on Plaintiff.

          67.     The Collection Letter caused Plaintiff to falsely believe the Medical Debt was

  Plaintiff’s financial responsibility.

          68.     The Collection Letter caused Plaintiff to lose three or more hours of sleep on at

  least thirty (30) different occasions.

          69.     Frustrated, confused, and distressed by the Collection Letter, Plaintiff consulted

  with an experienced worker’s compensation attorney for guidance as to the legitimacy of the

  Collection Letter and the consequences of either paying or not paying the debt demanded by the

  Collection Letter. Plaintiff wasted at least three (3) hours consulting with the attorney regarding

  the Collection Letter and, further, incurred transportation costs of more than $5.00 collecting the

  information and documentation for the attorney’s review.

          70.     Plaintiff wasted at least two (2) hours reviewing copies of his credit reports to

  determine whether the Medical Debt was affecting his creditworthiness.

          71.     To date, the Collection Letter continues disrupts Plaintiff’s day-to-day life and

  mental well-being, as Plaintiff and his spouse still argue over the consequences of paying or not

  paying the Medical Debt demanded in the Collection Letter, and Plaintiff still suffers from loss of

  sleep and anxiety because he is uncertain, based on the prior actions of Miami Healthcare and




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  Defendant, whether future action to damage the creditworthiness will be taken – regardless of the

  lawfulness of any such future action.

         72.     Defendant lacks policies and procedures reasonably adapted to prevent demanding

  payment from injured employees for medical services provided to an employee for the treatment

  of a workplace injury.

                                        COUNT 1
                             VIOLATION OF 15 U.S.C. § 1692e(2)(A)

         73.     Plaintiff incorporates by reference paragraphs 6 through 72 of this Amended

  Complaint.

         74.     Pursuant to Fla. Stat. § 440.13(2)(a), an injured employee is entitled to “such

  medically necessary remedial treatment, care, and attendance for such period as the nature of the

  injury or the process of the recovery may require….”

         75.     Pursuant to Fla. Stat. § 440.13(13)(a), “[a] health care provider may not collect or

  receive a fee from an injured employee within this state, except as otherwise provided by this

  chapter. Such providers have recourse against the employee or carrier for payment for services

  rendered in accordance with this chapter.”

         76.     An employee is shielded from liability in any dispute between the employer or

  carrier and health care provider regarding reimbursement for the employee’s authorized medical

  or psychological treatment. See generally Fla. Stat. § 440.13.

         77.     Section 1692e of the FDCPA prohibits the use of “false, deceptive, or misleading

  representation or means in connection with the collection of any debt.” 15 U.S.C. §1692e. The

  sixteen subsections of § 1692e set forth a non-exhaustive list of practices that fall within this ban,

  including, but not limited to: “[t]he false representation of the character, amount, or legal status

  of any debt.” 15 U.S.C. § 1692e(2)(A). (emphasis added).


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         78.     As stated above, Defendant sent the Collection Letter to Plaintiff in an attempt to

  collect the Medical Debt. The Collection Letter falsely represents that Plaintiff is responsible for

  the repayment of the Medical Debt. Here, Plaintiff is not liable or otherwise responsible for the

  payment of the medical services rendered by Miami Healthcare, as such medical services were

  rendered to Plaintiff as a result of a work-related injury sustained by Plaintiff.

         79.     Defendant, by and through the Collection Letter, falsely represents the character of

  the Medical Debt, in that, the Collection Letter falsely represents Medical Debt as a debt which

  Plaintiff is solely responsible and/or otherwise obligated to pay.

         80.     Further, by and through the Collection Letter, Defendant falsely represents the

  amount of the Medical Debt, in that, the amount sought by the Collection Letter exceeds the

  amount which Miami Healthcare is entitled pursuant to the fee schedules and/or guidelines for

  services rendered to injured workers such as Plaintiff.

         81.     Thus, by and through the Collection Letter, Defendant violated § 1692e and §

  1692e(2)(A) of the FDCPA by falsely representing the Medical Debt as Plaintiff’s personal

  responsibility, falsely representing the character of the Medical Debt, as well as by falsely

  representing the amount of the Medical Debt.

         82.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

  against Defendant, awarding Plaintiff the following relief:

                 (a)     Statutory and actual damages as provided by 15 U.S.C. § 1692k;

                 (b)     Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k; and

                 (c)     Any other relief that this Court deems appropriate under the circumstances.




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          DATED: January 25, 2024
                                                  Respectfully Submitted,

                                                   /s/ Thomas Patti                       .
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                                                  COUNSEL FOR PLAINTIFF



                                     CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on July 16, 2024, the foregoing was electronically

  filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

  filing to all counsel of record.

                                                            /s/ Thomas J. Patti                  .
                                                           THOMAS J. PATTI, ESQ.
                                                           Florida Bar No.: 118377




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